UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------X
                                    :
UNITED STATES OF AMERICA            :                NOTICE OF APPEARANCE AND
                                    :                REQUEST FOR ELECTRONIC
          - v. -                    :                NOTIFICATION
                                    :
MARIO AMILCAR ESTRADA ORELLANA,     :                            :
                                                     19 Cr. 328 (JSR)
JUAN PABLO GONZALEZ MAYORGA,        :
                                    :
                     Defendants.    :
                                    :
------------------------------------X


TO:    Clerk of Court
       United States District Court
       Southern District of New York

       The undersigned attorney respectfully requests the Clerk to note his appearance in the

above-captioned case and to add him as a Filing User to whom Notices of Electronic Filing will

be transmitted in this case.

                                                      Respectfully submitted,

                                                      GEOFFREY S. BERMAN
                                                      United States Attorney for the
                                                      Southern District of New York



                                                  by: __________________________
                                                      Matthew Laroche
                                                      Assistant United States Attorney
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